    Case 15-11221 Doc 33-3 Filed 08/03/15 Entered 08/03/15 13:29:04                        Desc
                 Supplement Certificate of conference Page 1 of 1


                                                                                           In Re: Richard A. Joyce
                                                                                           Case No. 08-17554-JNF
                                                                                                     CHAPTER 13

                           UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS (BOSTON)



In re:                                                 CHAPTER 13
  Yvonne V. Skapers                                    CASE NO. 15-11221 WCH
                           Debtor


                NOTICE OF COMPLIANCE WITH PRE-FILING CONFERENCE
                            PURSUANT TO LBR APPENDIX I, 13-16-1

        On July 17, 2015 I sent a 7 day notice of post-petition default in real estate tax payments to counsel

for the debtor. This is a ‘reverse mortgage’ and the debtor is obligated to remain current on post-petition real

estate tax obligations.

        As of August 3, 2015 we do not have a resolution to the matter but the parties expect to work towards

a resolution prior to any hearing on the merits of the motion for relief from stay.

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        .                                       Respectfully submitted,
                                                Harmon Law Offices, P.C.

                                                /s/ Deirdre M. Keady
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Dated: August 3, 2015
